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                      UNITED STATES DISTRICT COURT
                       MIDDLE DISTRICT OF FLORIDA
                             TAMPA DIVISION




                                                         Civil Action No. 8:25-cv-411
       RUMBLE INC. and TRUMP
                                                         MOTION FOR RECONSIDERATION
                                                         ON THE GROUNDS OF
       MEDIA & TECHNOLOGY GROUP ORP.                     OBSTRUCTION OF JUSTICE AND
                                                         DISMEMBERMENT OF
                                                         DOCUMENTS AND FORWARDING
       Initial plaintiffs, and
                                                         TO THE CRIMINAL DISTRICT
                                                         ATTORNEY AND THE FBI. REF. 18
       MARÇAL HONDA,                                     USC Ch. 73: OBSTRUCTION OF
                                                         JUSTICE §§ 1512. (And) 1513.

       Incidental plaintiff


       v.


       ALEXANDRE DE MORAES


       Justice of the Supreme Federal


       Tribunal of the Federative Republic of Brazil


       Defendant.



                                  HONORABLE JUDGE,


    A MOTION FOR RECONSIDERATION ON THE GROUNDS OF OBSTRUCTION OF
    JUSTICE, WITHOUT THE INTENT OF APPEALING THE MERITS OF THE DECISION
    AND WITHOUT REITERATING THE PREVIOUS MOTIONS AND ARGUMENTS.
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MOTION:                             Document 37 ONFiled
            MOTION FOR RECONSIDERATION                THE05/28/25
                                                            GROUNDS   Page
                                                                         OF 2OBSTRUCTION
                                                                               of 8 PageID 1540 OF
JUSTICE AND DISMEMBERMENT OF DOCUMENTS AND FORWARDING TO THE CRIMINAL
DISTRICT ATTORNEY AND THE FBI. REF. 18 USC Ch. 73: OBSTRUCTION OF JUSTICE §§
1512. Tampering with a witness, victim, or an informant. (And) 1513. Retaliating against a witness,
victim, or an informant
First, I confirm that I received the letter from this Court on May 27, 2025.
I also inform you that I do not have the financial resources to hire a lawyer before this Court, nor
to pay legal fees and costs or the costs of translating documents. I receive approximately US$
2,200.00 per month as my retirement payment (the equivalent of less than 50% of the average
salary of a police officer in the USA).
                                              RECENT FACTS


OBSTRUCTION OF JUSTICE PRIOR TO THE DECISION OF THIS COURT


       In, April 29, 2025, at 12:00 p.m., I received a call from the Internal Affairs Office of the Civil
Police of São Paulo/BR, summoning me to the CIVIL POLICE INTERNAL AFFAIRS OF SP/BR,
for the SEI process No. 05800033335/2025 instituted in retaliation against me, due to the
journalistic article published on March 12, 2025 (PUBLICATION THAT I NEVER AUTHORIZED),
about my intervention in this Civil Action, reporting my complaint of persecution by Alexandre de
Moraes.
       At 12:28 p.m., I received an email with the aforementioned notification REF. TO :
                     Government of the State of São Paulo
                     Civil Police of the State of São Paulo
                     Ombudsman's Office-Police Assistance-Police Assistance
                     DISPAPER
                     OZB/gg
                     Process No.: 058.00033335/2025-79
                     Interested party: Dr. Marçal Ronda - Retired Police Chief
                     Subject: CGPC No. 1273/2025. E-mail, dated 03/13/2025, Police Intelligence
              Unit of the General Ombudsman's Office of the Civil Police, ref. Technical Report No.
              040/2025. Forwards a news article published on the ESTADÃO news portal, on
              03/11/2025, referring to the interested party, with the headline: "SP Civil Police Chief
              wants to be part of the lawsuit against Moraes in the US; find out who he is". In view
              of the above, please forward the report to the Operational Division for preliminary
              investigation and respective instructions, and return it with a conclusive statement.
                     São Paulo, on the date of the digital signature.
                      OLAVO REINO FRANCISCO
                     DIVISIONAL POLICE DELEGATE POLICE ASSISTANCE



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           At 4:36 p.m., the decision of this37district
                                                   Filedcourt
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                                                              was released.
          The obstruction of justice was already configured under the terms of 18 USC Ch. 73:
    OBSTRUCTION OF JUSTICE §§ 1512. Tampering with a witness, victim, or an informant.
    (And) 1513. Retaliating against a witness, victim, or an informant being committed even
    before the course of this action in which it was carried out before the decision of April 29,
    2025 and will continue with the objective of destroying my life in revenge, as they tried
    through Administrative Proceeding 85/20.


          The process and the subpoena are an abuse of authority, because they no longer
    have the prerogative to investigate or punish me, since I retired in July 2022 and I am
    currently a lawyer with the immunities provided for in the OAB Statute.


             But it turns out that they have ALEXANDRE DE MORAES and the STF to protect
    their illegalities and habitual abuses in this critical moment of dictatorship of the Judiciary,
    whose hallmark of the current democratic rupture is the annulment of the rule of law and the
    annihilation of due process.
           And the goal this time is certainly to revoke my retirement and destroy my life.
            They only failed to expel me from the police through Administrative Proceeding 85/20
    because I raised the suspicion that Alexandre de Moraes' trusted man, who was in charge
    of that persecution, could be involved in the corruption of the largest bank robbery that ever
    occurred in Brazil (from which they allegedly stole more than 300 million dollars in jewelry
    allegedly stolen from Jews taken to Nazi concentration camps).
          This same trusted man was appointed by Moraes as director of the department where
    I worked and subjected me to the humiliations of SEVEN YEARS OF FORCED LEISURE
    WITH SPECIFIC RACIAL DISCRIMINATION.
          For almost seven years I was kept in the Division's junk room, without a telephone,
    without a computer, without privacy, surrounded by discarded materials and rubble, and
    prevented from performing my duties as a Police Chief.


           This racism was aggravated by the fact that I taught capoeira classes (a sport, just
    like me, of Afro-Brazilian origin - Asian father and black mother) to children from the outskirts
    of the suburbs of São Paulo, in my humanitarian project of Sports as Prevention Against
    Drugs and Crime.


          In fact, my legal appeal (Evidence Protection) that I had filed against that
    Administrative Proceeding 85/20 simply disappeared from the Supreme Court's agenda of
    Alexandre de Moraes and was suppressed without judgment.
    INFORMATION in PROCESSES IN THE FEDERAL COURTS OF NEW YORK – USA, ON
    THE POSSIBLE MISAPPROPRIATION OF US$ 346,602.00 ON 09/10/2016, PAID BY
    THE US GOVERNMENT TO THE MINISTRY OF JUSTICE UNDER THE MANAGEMENT
    OF MINISTER ALEXANDRE DE MORAES.
    Case 1:20-cv-07932 Southern District Court in New York ; Case 1:2020cv04090
    Eastern District Court in New York ;
                                                3
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      Ref. : According to Decrees Document   37 Filed
                                   179/24-July-1991     05/28/25 Page 4the
                                                    to 2242/02-July-1997, of 8United
                                                                               PageID  1542of
                                                                                     States
    America maintains an international cooperation agreement with Brazil to combat drug
    trafficking and reduce demand, which was later extended to combat transnational organized
    crime and money laundering.The transfer of financial aid from the USA to BRAZIL to fund
    projects took place through periodic memorandum provided for in the Agreement.
    Memorandun were found from 1992 to 2008, with addendum letters until at least 2016, for
    a total of approximately US $ 38,304,402.00 (THIRTY-EIGHT MILLION, THREE HUNDRED
    AND FOUR THOUSAND, FOUR HUNDRED AND TWO DOLLARS)


           As stated in Complaint P-1523/24 – IACHR/OAS regarding Alexandre de Moraes:


                  He voted for my conviction to pay increased fees in ARE 1383711- STF
                  regarding Proc. 0018108-54.2019.8.26.0053 - 4th V.JEFAZ/TJSP and Proc.
                  001249985.2022.8.26.0053 - 12th V. Faz. Pub. -TJSP, re. the slanderous
                  denunciation in the dismissal PAD 85/20 of the Civil Police Inspectorate of SP.
                  In this case, the STF prevaricated and suppressed the judgment of an
                  evidentiary injunction, in ARE 1383711 - (Evidence Injunction 38261/2022
                  Petitioned on 05/23/2022 - Rec. on 05/23/2022 23:00:49, by EXTR. REC.
                  GEN.


          The misuse of the purpose of the Internal Affairs Units in Brazil, used for political and
    ideological persecution, is common and they act according to a pattern.
           They begin with any administrative procedure, absurdly violate due process and, with
    the support of the Judiciary, destroy the lives of those who are considered undesirable by
    the system.
           It was this same Internal Affairs Unit of the Civil Police of SP/BR that instituted the
    AP (Preliminary Investigation) 148/18 against me, at the request of the Internal Affairs Unit
    AGU - Attorney General's Office to punish me. because I had denounced the
    misappropriation of 38 million dollars donated by the US Government to Brazil, through an
    international agreement.
          The process that I opened to investigate the total amount of funds donated to Brazil
    due to this same bilateral international agreement is still open at the US State Department
    (Case Control F- 2016-07498).
           Therefore, the present obstruction of justice also constitutes a violation of art.
           Furthermore, the theft of more than 300 million dollars, possibly stolen from Jews
    during Nazism, is in the interest of the community American Jewish community that filed a
    lawsuit seeking compensation in a New York Federal Court against the Austrian bank that
    confessed to having collaborated with Nazism.
           Amid pressure to reveal the names of its clients, this Austrian bank that had been
    Nazified by Hitler and used to store jewelry stolen from Jews sold its assets to the Brazilian
    bank that was robbed.
          And so, hypothetically, the Jewish jewelry still stored in that Austrian bank would have
    been transferred to the safes of the Brazilian bank that was robbed in August 2011, in
    downtown São Paulo.
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           Brazilian law allows theDocument
                                    breaking of37bankFiled 05/28/25
                                                      secrecy           Page
                                                               for criminal   5 of 8 PageID
                                                                            investigations,  1543
                                                                                            but most
     of the 170 clients who owned the safes that were robbed were never investigated to find out
     if they were Nazis or their descendants.
             The jewelry was practically never recovered from the identified and arrested thieves,
     but it may have been recovered and returned to the owners of the safes, who were possible
     Nazis.
           Meanwhile, Alexandre de Moraes' trusted man, who had stolen the footage of the
     robbery, identifying the perpetrators, was promoted and rose in his career in a surprising
     way.
             At the time, this trusted man of A. Moraes - who had in-depth knowledge of the
     activities of TRANSCOOPER, a company investigated for money laundering for drug
     trafficking and was a client of Alexandre de Moraes' law firm - was being investigated by the
     Police Internal Affairs Unit as a suspect of corruption.
           And for this reason, he was placed in a district in the suburbs of the city (indirect
     punishment), without any prerogative or authority to get hold of the videos of the bank
     robbery in the city center.
            But in the seven years following the aforementioned theft of the jewels (possibly taken
     from Jews during Hitler's Nazism in Europe), this trusted man of A. Moraes was promoted,
     became rich and rose in a surprising way, reaching the highest leadership position in the
     entire Civil Police of São Paulo.
            For these reasons, I request that this court order the removal of the documents I
     authored for forwarding to the Federal Prosecutor responsible for the Central District of
     Florida and to the FBI, with my request to institute criminal proceedings regarding the
     obstructions of justice that I am denouncing in this action.


             I would like to clarify that I have no intention of appealing this court's decision, since
     I did not intervene to sue Rumble, but rather to unify objectives in order to contain Alexandre
     de Moraes' excesses.


            I felt I had the right to bring to this civil action the information about Alexandre de
     Moraes' international jurisdictional incompetence, because these are the same arguments
     on which I based my complaint P-1523/24, MC 46/25 and Petition 96769 before the
     IACHR/OAS, listing the US Government and American citizens and their companies as
     interested parties.


           In addition to Rumble's interest, the dispute concerns precisely the US sovereignty
     over the contested excesses. And both countries are signatories to the American
     Convention on Human Rights under which I filed the aforementioned complaint.


            I did not intend to offend Rumble's lawyers at any time and I only regret that they did
     not understand that they do not need to recognize Alexandre de Moraes as a Judge,
     because he does not have the necessary constitutional legitimacy that should be granted
     by the Brazilian electorate.
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           It would be enough for Rumble's lawyers in Brazil to appeal the decisions by means
    of an internal appeal and a motion for clarification requesting the annulment of A. Moraes'
    decisions due to absolute nullity arising from the illegitimacy of the judge in the case (art.
    564, item I of the CPP).


           The appeals would be denied, but would justify the filing of a Constitutional Injunction
    Writ (art. 5º CF), to force the Legislative Branch to regulate direct elections for the STF
    (removing and making A. Moraes suspect to judge them), since Rumblee and Trump Media
    have the right to be judged by a legitimate judge under the terms of art. 1º sole paragraph
    combined with art. 2º, art. 14 and art. 101 of the CF combined with Binding Summary 43 of
    the STF itself.


           At the same time as the Injunction Writ, the lawyers could represent the Presidents
    of the Senate and the Chamber of Deputies for the impeachment of A. Moraes for illegal
    appointment to public office and undue receipt of salaries, based on the Law of Crimes of
    Responsibility (L. 1079/50) combined with art. 359-D of the Brazilian Penal Code and
    Binding Summary 43 of the Brazilian Supreme Court, art. 1st sole paragraph, art. 2nd, art.
    14 and art. 101 of the Federal Constitution.


            The Brazilian Supreme Court would drag out the judgment of the Injunction Writ
    indefinitely because they will not rule against themselves, but they will also have no
    justification for denying the request.


           But this would give Rumble the right to appeal to the Inter-American Court of Human
    Rights, based on arts. 8, 13 and 25 of the ACHR, to order Brazil to annul all of A. Moraes'
    lawsuits and compensate them.


           This is because, through Decrees, Brazil It internalized the IACHR as the last
    instance of appeal in matters of human rights and formalized the inter-American legislation
    in the national legal system at the level of infra-constitutional norms.


          At the same time, Rumble would already have all these procedural decisions in hand
    as arguments to file a lawsuit for compensation against the Brazilian Government before
    the US Judiciary.


         All due to the fact that they had been subjected to judgment by an illegitimate and
    unconstitutional authority, with violations of fundamental rights determined by the American
    Convention on Human Rights, to which both countries are signatories.




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           The violations would beDocument
                                   added to 37   Filed 05/28/25
                                            the amendments    to thePage 7 of 8 Constitution
                                                                     American   PageID 1545for
    violations of due process and freedom of expression.


           But I regret not making myself understood and all that remains for me is to ask this
    Court to grant the opportunity for the documents I filed to be dismembered and for this Court
    to forward them to the Federal Attorney responsible for this Central District of Florida and to
    the FBI (in the interest of investigating a possible crime committed against Jews during the
    Nazism that broke out in the Holocaust), with my request for the initiation of criminal
    proceedings for obstruction of justice here ( ) and the various other crimes allegedly
    committed against the US Government :
                           “I request that Ms. PAMELA BIONDI, you do me the honor, extending
                  to Ms. President DONALD TRUMP, to Mr. MARCO RUBIO, US Secretary of
                  State; US; to Mr. ELON MUSK, Head of DOGE – Department of Government
                  Efficiency Government Efficiency to express themselves in writing or by
                  hearing, in Civil Action 8:25 cv 411, on the interest of the US Government in
                  the crimes of Violations against the U.S. Government, its citizens, and
                  businesses: 18 U.S. Code § 371 - CONSPIRACY TO COMMIT A CRIME OR
                  TO DEFRAUD THE UNITED STATES - 18 U.S. Code Chapter 45 - § 954 -
                  FALSE STATEMENTS TO INFLUENCE A FOREIGN GOVERNMENT - and
                  18 U.S. Code Chapter 47 § 1001 - FRAUD AND FALSE STATEMENTS - and
                  31 U.S. Code § 3729 - FALSE CLAIMS c/c 18 U.S. CODE § 641 - ref.
                  Misappropriation of MONEY, PROPERTY, OR PUBLIC RECORDS. And also
                  violations of the 1st, 5th, 6th and 14th amendments to the American
                  Constitution, by censoring freedom of expression, restricting due process and
                  the rule of law., as well as, under the terms of articles 8 and 20 of the Inter-
                  American Democratic Charter, in the IMMEDIATE CONVENTION OF THE
                  PERMANENT COUNCIL OF THE OAS TO EVALUATE THE BREACH OF
                  THE DEMOCRATIC ORDER IN BRAZIL c/c INTERNATIONAL HABEAS
                  CORPUS, related to the CRIME OF OBSTRUCTION OF PROCEDURES - 18
                  US CODE – , CHAPTER 73- § 1505, as practiced by the Executive Secretariat
                  of the IACHR/OAS in retaining Complaint P-1523/24, MC 46/25 and Petition
                  No. 67969 in which American citizens and their companies are victims; and
                  further, whether there is an interest in the QUI TAM Action 31 US Code -
                  Chapter 37 - § 3730 civil actions for false claims, referring to the
                  disappearance of $ 38,304,402.00 (thirty-eight million, three hundred and four
                  thousand, four hundred and two dollars) paid by the U.S. Department of State
                  to Brazil referring to Decrees 179/24-July-1991 and 2242/02-July-1997,
                  considering also that I petitioned in this civil action 825 cv 411, so that under
                  the terms of 28 U.S. - Chapter 163 - Code § 2467 - Enforcement of foreign
                  judgment, (d): (1) - (A), (B), (C), (D) and (E). the federal court recognizes the
                  illegitimacy of Alexandre de Moraes as a judge and declares the decisions of
                  the Brazilian judiciary in American territory unenforceable due to the following
                  facts summarized here:
                        (In the Civil Action 8:25 cv 411 ) Preliminary argument OF THE
                  FINANCIAL CRIME : The position of Minister of the STF provided for in art.
                  101 of the CF does not exist in the public budget of the Union because they
                  were not elected by the people, as determined in art. 1, sole paragraph with
                  2nd. 14 and art. 101 of the Federal Constitution). In fact, they cannot be paid,

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                because the position is not 37   Filedfor05/28/25
                                            provided                Page 8ofofBudget
                                                          in the LDO-Law       8 PageID 1546
                                                                                     Guidelines
                  and the current Ministers cannot receive salaries as Magistrates of the
                  Judiciary of the Union, because they are not public servants, according to art.
                  37, items II and XIII of the CF with Binding Precedent 43 of the STF itself.
                         They are all subject to impeachment for illegally filling public positions
                  and paying salaries not specified in the budget law, under articles 9 (5), 10 (4)
                  and 11 (1) of Law 1079/50 on Crimes of Responsibility, with a crime against
                  public finances under art. 359-D of the Brazilian Penal Code. “




           That said, I will send you a copy of the motion and I hope you do not object.
           I am at your entire disposal for any clarification and if you prefer, without prejudice to
    your current attorneys who already work before the STF, I am willing to represent you here
    in Brazil, in accordance with the thesis I presented. It would be an honor.
                                                                                Date: May, 4, 2025
                                                                                          Sincerely,


                                                                                MARÇAL HONDA
                                                                           Respectfully submitted.
                                            By: MARÇAL HONDA, Brazilian, retired Police Chief,
                                      Independent attorney, registration no. 486,798 – OAB/SP;
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